
















&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; COURT OF
APPEALS

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; EIGHTH DISTRICT
OF TEXAS

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; EL
PASO, TEXAS

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; )

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; )

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; )

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; )&nbsp;&nbsp;&nbsp;&nbsp; &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; No.&nbsp; 08-02-00270-CV

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; )

IN RE:&nbsp; TRAVELERS INDEMNITY &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; )&nbsp;&nbsp;&nbsp;&nbsp; AN
ORIGINAL PROCEEDING

COMPANY OF RHODE ISLAND&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; )

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; )&nbsp;&nbsp;&nbsp;&nbsp; &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
IN MANDAMUS

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; )

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; )

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; )

&nbsp;

O
P I N I O N

&nbsp;

This original
proceeding in mandamus arises from a judgment entered by the 120th Judicial
District Court of El Paso County in a case styled Carlos Gandarilla
v. The Travelers Indemnity Company of Rhode Island, Cause No. 92-584.&nbsp; The judgment was filed in 1992, and included
a specific finding that Mr. Gandarilla suffered a
substantial and permanent work-related injury.&nbsp;
The judgment also ordered life time medical coverage for any and all
medical expenses relating to this injury.&nbsp;
The relator, Travelers Indemnity Company of
Rhode Island (ATravelers@), paid Mr. Gandarilla=s claims for almost ten years.&nbsp; In the Fall of 2001,
Travelers submitted Mr.&nbsp;Gandarilla=s claims to a medical peer review and
an independent medical examination.&nbsp; As a
result, Travelers determined the claims were not medically necessary and denied
reimbursement for prescription drugs and refused to pay for a health club
membership. 








Mr. Gandarilla, the real party in interest, then filed suit
against Travelers, alleging breach of the settlement agreement, insurance Abad faith,@
and violation of the Texas Insurance Code.&nbsp;
Travelers filed a plea in abatement requesting the trial court refrain
from exercising jurisdiction.&nbsp; On April
19, 2002, the trial court overruled Travelers=
plea and entered an order retaining jurisdiction.&nbsp; Travelers now seeks from this Court a writ of
mandamus compelling the trial court to withdraw its order of April 19, 2002,
and substitute in its place an order abating the underlying lawsuit in favor of
the exclusive jurisdiction of the Texas Workers=
Compensation Commission.

Mandamus is an
extraordinary remedy, available only in limited instances. &nbsp;Canadian Helicopters Ltd.
v. Wittig, 876 S.W.2d 304, 305 (Tex. 1994).&nbsp; Such relief is available if the trial court
violates a duty imposed by law or clearly abuses its discretion, in resolving
factual or legal issues, when there is no other adequate remedy by law.&nbsp; Walker v. Packer, 827
S.W.2d 833, 

839-40 (Tex.
1992).&nbsp; Generally, a reviewing
court lacks jurisdiction to issue writs of mandamus to supervise or correct
incidental rulings of the trial court when there is an adequate remedy through
appeal.&nbsp; See Abor
v. Black, 695 S.W.2d 564, 566 (Tex. 1985).&nbsp; It is the party seeking mandamus relief that
must establish both the absence of an adequate remedy and the trial court=s abuse of discretion.&nbsp; In re Bay Area Citizens Against
Lawsuit Abuse, 982 S.W.2d 371, 375 (Tex.&nbsp;
1998).&nbsp; The
petitioner=s burden
is a heavy one and the path by which he must pass is quite narrow.&nbsp; Canadian Helicopters,
Ltd., 876 S.W.2d at 305; Lutheran Social Serv.,
Inc. v. Meyers, 460 S.W.2d 887, 889 (Tex. 1970).&nbsp; A court=s
refusal to abate is the type of ruling for which there is usually an adequate
remedy by appeal.&nbsp; In
re Luby=s
Cafeterias, Inc., 979 S.W.2d 813, 815 (Tex.App.--Houston
[14th Dist.] 1998, no pet.).&nbsp; An
exception to this general rule occurs when one court interferes with the
jurisdiction of another court or when a party seeks to enforce mandatory
statutory rights.&nbsp; Id.








Travelers
argues the real party in interest=s
claims against it are subject to the exclusive jurisdiction of the Texas
Workers=
Compensation Commission (ATWCC@) under the Texas Workers= Compensation Act.[1]&nbsp; Travelers further asserts
the trial court=s
exercise of jurisdiction vitiates the purpose of the Act and leaves them
without an adequate remedy by appeal.&nbsp; In
particular, Travelers maintains Mr. Gadarilla was
required to comply with the mandatory administrative remedy of medical dispute
resolution through the TWCC.&nbsp; 

In 1989, the
Legislature enacted the Texas Workers=
Compensation Act which restructured the workers=
compensation system.&nbsp; Lumbermens Mutual
Casualty Company v. Manasco, 971 S.W.2d 60, 61
(Tex. 1998).&nbsp; The statutory
changes created an extensive administrative procedure for all compensation
disputes.&nbsp; Id.&nbsp; Under the new law, the Workers= Compensation Commission has exclusive
jurisdiction of disputes over preauthorization of medical care and
reimbursement of medical expenses.&nbsp; American
Motorists Insurance Co. v. Fodge, 63 S.W.3d 801,
803 (Tex. 2001), citing Tex.Labor Code
Ann. '
413.031.&nbsp; The Commission has established
a procedure for claimants wishing to contest an insurance carrier=s denial of benefits, namely, a medical
dispute resolution.&nbsp; See 28 Tex.Admin.Code
' 134.600(g) (2002).&nbsp; The Act is designed to assure the injured
employee that he will be fairly and reasonably compensated for his injuries
while saving the employer the time, expense, and uncertainty of&nbsp; litigation.&nbsp; In re Luby=s
Cafeterias, Inc., 979 S.W.2d at 817.








While not
persuaded by Travelers=
argument that the trial court has improperly denied them a statutory right
under the Act, we agree that if this premise were true, the remedy of appeal
would not be adequate.&nbsp; So, we will
address Travelers claim on the merits and consider whether the trial court
abused its discretion in denying the plea in abatement.&nbsp; 

Travelers= contention relies squarely on the view
that TWCC has exclusive jurisdiction in any and all disputes between injured
employees and medical providers or insurance carriers.&nbsp; However, the statutory and administrative
scheme upon which they rely did not exist at the time Mr. Gandarilla
was injured.&nbsp; Moreover, Mr. Gandarilla=s
compensation benefits were established by the court, not the Commission.&nbsp; Neither the statute nor the administrative
rules cited by Travelers clearly address claims arising from court judgments
entered prior to the amendment of the Labor Code.

Travelers has not
cited, nor do we find, any case law suggesting the passage of the Workers= Compensation Act and the subsequent
related administrative rules effectively removed or altered the judiciary=s jurisdiction over its own previously
decided judgments.&nbsp; As such, the failure
of the trial court to abate the case and concede jurisdiction to the Commission
cannot be viewed as an abuse of discretion.&nbsp;
Walker, 827 S.W.2d at 839-40.&nbsp; Courts have always had explicit statutory
authority and inherent judicial power to enforce their jurisdiction.&nbsp; See Tex.Const. art. V, ''
8 and 16; Tex.Gov=t Code Ann. '
21.001(a)(Vernon Supp. 2003); Tex.R.Civ.P. 308; Arndt v.
Farris, 633 S.W.2d 497, 499 (Tex. 1982).&nbsp; In the absence of clear and contrary
statutory or judicial guidance, we will not decide otherwise. The petition for
writ of mandamus is denied.

December
12, 2002

DAVID WELLINGTON
CHEW, Justice

&nbsp;

Before Panel No. 1

Larsen, McClure, and Chew, JJ.

&nbsp;

(Publish)











[1]
Tex.Labor Code Ann. ' 413.031 (Vernon 1996 and Supp. 2003).







